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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                       )
                                              )
 MESA OIL, INC.                               )
 d/b/a Mesa Environmental                     )
                                              )      Case No. 17-14004-EEB
                                              )
 EIN:     XX-XXXXXXX                          )
                                              )
          Debtor.                             )

          SECOND AMENDMENT TO AMENDED PLAN OF REORGANIZATION
                        DATED OCTOBER 25, 2017

          The Debtor, Mesa Oil, Inc. (“Debtor”) by and through its attorneys, Kutner Brinen, P.C.,
 submits its amendment to its Amended Plan of Reorganization Dated October 25, 2017 as
 follows:
    1. Paragraph 11.3 is amended to read as follows:
          11.3 - Satisfaction of Claims. The Debtor shall receive a discharge on the
 Effective Date of the Plan pursuant to Section 1141(d). Confirmation of the Plan shall
 constitute a modification of any note or obligation for which specification and treatment
 is provided under the Plan as set forth in the Plan. Any obligation or note, previously
 in default, so modified, shall be cured as modified as of the Effective Date.               This
 provision shall be operable regardless of whether the Plan provides for any obligation
 to be evidenced by a rewritten loan or security document following confirmation of the
 Plan. During the time period from the Confirmation Date through the Discharge Date,
 no creditor affected by the Plan shall have the right to pursue any claims, either in
 Bankruptcy Court or State Court, except for any remedies as a result of the Debtor’s
 breach of the Plan. This provision neither expands nor detracts the jurisdiction of the
 Bankruptcy Court conferred under the Bankruptcy Code.
          11.3.1 – Environmental Protection Agency (“EPA”) Orders. Nothing
 contained in paragraph 11.3 shall be construed as a discharge of any obligations under
 the EPA’s Administrative Order dated March 3, 2017 (“EPA Order”) related to the
 Debtor’s facility located in Belen, New Mexico (“New Mexico Facility”). The Debtor
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 shall take such action as necessary to come into compliance with any remaining
 outstanding requirements of the EPA Order no later than six (6) months following the
 Effective Date of the Plan. No later than three (3) months following the Effective Date
 of the Plan, the Debtor shall send a status report detailing any and all actions
 undertaken to bring the New Mexico Facility into compliance with the EPA
 ORDER. Status reports shall be sent via email and regular mail to: Rusty Herbert
 (herbert.rusty@epa.gov), USEPA Region 6 Laboratory, Houston Branch, USEPA
 Region 6 Laboratory, Houston Branch, 10625 Fallstone Road, Mail Code: 6RC-EW,
 Houston, TX 77099; Robert Houston (Houston.Robert@epa.gov), Chief Special Projects
 (NEPA & Stormwater), 1445 Ross Avenue, Suite 1200 (6EN-WS), Dallas , TX 75202-
 2733.     Debtor’s compliance with the EPA Order is in addition to maintaining its
 compliance with its Stormwater Permit No. NMR05B151.
         To the extent the Debtor disputes any finding by the EPA, the Debtor reserves its
 right to exercise any administrative or judicial remedies it may have under applicable
 law in the United States District Court for New Mexico.
    2. Paragraph 11.2 is amended to read as follows:
         11.2      Retention of Jurisdiction. Notwithstanding confirmation of the Plan, the
 Court shall retain jurisdiction for the following purposes:
         [. . .]
         8.        To close the case after the Plan becomes effective and reopen the case upon
                   request by a party in interest to allow such party to move for dismissal or
                   conversion of the Debtor’s case to a case under Chapter 7 of the Bankruptcy Code
                   at any time prior to completion of the term of the Plan; and
         9.        Enter a Discharge and Final Decree
    3. Paragraph 6.3 is amended to read as follows:
         6.3 – New Mexico Taxation & Revenue Department. The Class 4 Secured Claim
 consists of the Allowed Secured Claim held by the New Mexico Taxation and Revenue
 Department (“NMTRD”) secured by a statutory lien on the Debtor’s assets located in the State of
 New Mexico. The Class 4 Secured Claim is impaired by this Plan. The Class 4 Claim will be
 treated under the Plan as follows:
         [. . .]
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      (d) The holder of the Class 4 Claim shall receive equal monthly installments of principal
      and interest such that the Class 4 Claim shall be paid in full within five (5) years of the
      Petition Date with statutory interest. The payment on account of the Class 4 Claim shall
      be subject to annual review and adjustment on the anniversary of the Effective Date of
      the Plan to ensure compliance with the payment term of the Plan.




      Dated: April 17, 2018.               Respectfully submitted,

                                                   By:     /s/ Keri L. Riley
                                                           Jeffrey S. Brinen, #20565
                                                           Keri L. Riley, #47605
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